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Dr. Laurel Fulkerson, Interim Vice President for Research


                                          01/24/2022




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  The following holidays are classified by the Office of Personnel and Management as Federal
  Holidays:

  New Years Day
  Birthday of Martin Luther King, Jr.
  Washingtons Birthday
  Memorial Day

  Independence Day
  Labor Day
  Columbus Day
  Veterans Day
  Thanksgiving Day
  Christmas Day




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  Performance Work Statement
  Regional Educational Laboratory Program, 2022 Cycle

  I.     Procurement Purpose and Authorizing Legislation

  The U.S. Department of Education (the Department) intends to award nine 60-month contracts to
  qualified entities to serve as the Regional Educational Laboratory (REL) for nine of the 10 REL
  regions.1 See Appendix A for the names of the regions and their constituent states or
  jurisdictions. Each REL will be part of a program of 10 RELs authorized under the Education
  Sciences Reform Act (ESRA) of 2002, Part D, Section 174 (20 U.S.C. 9564). The REL Program
  is administered by the National Center for Education Evaluation and Regional Assistance
  (NCEE) at the Institute of Education Sciences (IES)2 in the US Department of Education (the
  Department).

  The authorizing legislation directs RELs to carry out applied research and development,
  disseminate findings from scientifically valid research, provide support for using research in
  education decision-making, and coordinate their activities with other technical assistance entities
  funded through the U.S. Department of Education, such as the Comprehensive Centers and the
  Equity Assistance Centers. REL products and services must be completed to the quality
  specifications required by IES.




  1
    The REL Southwest contract cycle is 11 months behind the other RELs and will be awarded in fall
  2022.
  2
    http://www2.ed.gov/policy/rschstat/leg/PL107-279.pdf

  1




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  II.     Introduction to the 2022 REL Cycle

  The purpose of each REL is to assist practitioners and policymakers in their work to improve
  outcomes for learners in its regionfrom early childhood to adulthoodby supporting
  stakeholders in the generation and use of research, evidence, and evidence-based practices. To
  achieve that purpose, RELs: (1) conduct applied research and development; (2) design and
  implement training, coaching, and technical support activities that emphasize building capacity
  to use data and information to drive change; and (3) disseminate scientifically valid research,
  evidence-based practices, and supporting materials that allow stakeholders to apply this
  knowledge to their own practice.

  All REL work must be both rigorous and high leverage.

          REL research and development activities are rigorous when they meet IES standards for
          work that is scientifically valid. REL training, coaching, technical assistance, and
          dissemination activities are rigorous when they are (a) based on practices that are
          evidence-based3, and (b) designed and delivered in ways that are consistent with what is
          known about high-quality adult learning and educator professional development
          experiences.
          REL work is high leverage when it is change-oriented, supporting consequential local,
          regional or statewide decisions about policies, programs, and practices designed to
          improve learner outcomes.

  RELs Work in Partnership with Key Stakeholder Groups
  Working in partnership with key stakeholder groups4 is central to the success of the REL
  Program. RELs are expected to engage partners  that is, leaders and decisionmakers
  representing key stakeholder groups who work directly in partnership with the REL  in the


  3
    The term evidence-based, generally refers to Tiers 1, 2, and 3 of the evidence levels specified in the
  Every Student Succeeds Act. However, IES expects the RELs to look for, share, and work with the
  highest tier of evidence that is available.
  4
    Stakeholder groups include but are not limited to state education agencies (SEAs), local education
  agencies (LEAs), state and local school boards, institutes of higher education (IHEs), schools funded by
  the Bureau of Indian Affairs, as well as student, parent, and community organizations. Key stakeholders
  generally refers to those with decision-making authority and the ability to influence policy or practice in
  their organization. RELs are required to allocate no less than 25 percent of their resources to meeting the
  needs of rural areas, as defined by the U.S. Census Bureau. Additionally, each REL has a Governing
  Board that is comprised of the chief state school officer, or their designee, for each state or jurisdiction in
  a REL region, as well as other regional stakeholders. Governing Boards provide RELs strategic direction,
  including prioritizing which regional needs should be the focus of the RELs work.

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  design, execution, and evaluation5 of their activities. Projects that involve key stakeholders in
  defining their needs and co-designing activities to address these needs are best situated to
  develop high-quality products and professional learning experiences. An example of such a
  project is the co-development of a activities and/or products that address pressing questions of
  practice, communicates technically accurate content in plain-spoken ways, and is useful for the
  intended audience. Similarly, high leverage work as defined above is not possible without RELs
  working in partnership.6

  RELs have worked with state departments of education, school districts, and other education
  stakeholders for more than 50 years, and have formed partnerships with educators and
  policymakers with the purpose of bridging research and practice for nearly a decade. IES
  requirements for partnerships have changed over time. The 2012 REL cycle supported research
  alliances, defined as regional, cross-state, or cross-district groups of practitioners, policymakers,
  and researchers who worked together over time to use data and research to better understand and
  address a particular education concern. In the 2017 REL cycle, partnership was defined more
  broadly than research alliances had been under the previous cycle, emphasizing specific features
  of partnership work. Such features included clear, specific, and actionable outcomes for
  improvement of some aspect of education; clear strategies for building the capacity of members
  of the partnership; regular communication with partners; and a commitment to collaborate on a
  coherent, integrated, well-planned set of activities.

  In the 2022 REL cycle, IES emphasizes working in partnership to improve student outcomes.
  This approach privileges no specific functional form, theory of change, or composition. Instead,
  the work of RELs should be purpose-built to meet partners specific needs. So long as the partner
  (1) identifies the high leverage need to be addressed, and (2) is actively involved in the design,
  execution and evaluation of a project or set of related projects, work is considered to be done in
  partnership. Sets of REL projects done in partnership may take different forms and involve
  different members across the duration of the work. There are few restrictions on the groups with
  which RELs may partner, or how RELs work in partnership is realized.

  RELs Conduct Three Types of Activities
  The authorizing legislation for the REL Program requires that RELs conduct three main
  activities: (1) applied research, which in this cycle IES explicitly extends to include development
  activities that translate scientifically valid evidence into tools for practitioners and interventions
  to meet unaddressed educator needs; (2) technical assistance related to application and use of
  scientifically valid research; and (3) dissemination of scientifically valid research. IES expects
  most REL partnerships will leverage activities of each type to meet their outcomes.



  5
   Evaluation of activities will be discussed in the Scope of Work/Requirements section.
  6
   See the Expectations for the Implementation of the REL Program section for additional information on
  working in partnership.

  3




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  Each type of activity is described here in an intentionally general manner. IES allows flexibility
  for RELs and their partners to undertake work under each of these activities that best fits their
  needs. The Scope of Work/Requirements section provides additional detail on each activity type.

  Training, coaching, and technical support for use of research
  ESRA defines technical assistance as:

             A) assistance in identifying, selecting, or designing solutions based on
             research, including professional development and high-quality training to
             implement solutions leading to (i) improved educational and other practices
             and classroom instruction based on scientifically valid research; and (ii)
             improved planning, design, and administration of programs; (B) assistance in
             interpreting, analyzing, and utilizing statistics and evaluations; and (C) other
             assistance necessary to encourage the improvement of teaching and learning
             through the applications of techniques supported by scientifically valid
             research.7

  RELs meet this mandate by conducting training, coaching, and technical support (TCTS)
  activities. In general, the REL Program focuses its TCTS work on activities that leverage
  RELsunique expertise in rigorous research, evaluation, and the design and use of evidence-
  based practices. All TCTS activities should be aligned to the existing evidence base or involve
  building stakeholder capacity to build new evidence where little or none exists. TCTS that has as
  its primary aim the implementation of an off-the-shelf evidence-based practice, absent
  complementary activities that leverage REL capacities, should be supported by other education
  technical assistance providers.

  TCTS projects may stand alone or be used in service of other activity types such as applied
  research and development projects. For example, TCTS activities can occur before or during an
  applied research project to help partners understand existing evidence or collect local, relevant
  data on the high leverage topic of interest. TCTS activities can also occur after an applied
  research project is completed with the goal of exploring implications of, and next steps from, the
  research. These activities are discussed in more detail in the Scope of Work/Requirements section
  under Task 4.

  Applied research and development
  ESRA describes applied research as directed to the advancement of practice in education. It
  addresses complex questions about teaching and learning; the organization of schools and

  7
      See 20 USC § 9501 (23).

  4




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  systems; access to educational opportunity; learner success; and how education relates to, and
  prepares learners for, success in life and work. Development refers to the systematic use of
  knowledge to create products or processes; here, those products should support stakeholders
  efforts to improve learner outcomes.8

  The applied research and development work conducted by RELs must be high leverage. That is,
  it should be change-oriented, supporting consequential local or regional decisions about policies,
  programs, and practices designed to improve learner outcomes. Ideally, the knowledge and tools
  developed by individual RELs would be generalizable to multiple contexts. However, this is not
  a requirement provided the applied research or development product meets the needs of local or
  regional stakeholders. Similarly, applied research and development products may take any
  appropriate format so long as they are designed to be both useful to and used by decisionmakers
  or practitioners.

  Applied research and development tasks are discussed in more detail in the Scope of
  Work/Requirements section under Task 5. Offerors should take special note of Subtask 5.2,
  which requires each REL to develop at least one research-based toolkit to support educators use
  of evidence-based practices found in What Works Clearinghouse Practice Guides.

  Dissemination
  ESRA defines dissemination as:

           the communication and transfer of the results of scientifically valid research,
           statistics, and evaluations, in forms that are understandable, easily accessible,
           and usable, or adaptable for use in, the improvement of educational practice
           by teachers, administrators, librarians, other practitioners, researchers,
           parents, policymakers, and the public, through technical assistance,
           publications, electronic transfer, and other means.9

  RELs are honest brokers and effective synthesizers of scientifically valid information in an age
  where information of varying quality is ubiquitous and readily transmitted. IESs goal is for the
  REL brand of dissemination to convey quality, objectivity, and timeliness. When possible,
  REL dissemination activities should include opportunities to learn and connect with others.
  Dissemination products and activities should be understandable, easily accessible, and usable.



  8
    ESRA contrasts applied research and development with basic research, which does not necessarily have
  immediate or obvious implications for practice. Both types of research differ from other forms of
  information-gathering, such as compiling facts or statistics, documenting policies without analysis or
  scholarly interpretation, or generating and reporting on performance indicators.
  9
    See 20 USC § 9501 (10)

  5




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  Products should not require substantial additional adaptation by stakeholders for use in the
  improvement of educational practice or the informing of educational policy.

  RELs dissemination activities and products should also be strategic. Dissemination activities,
  products, and strategies should be developed and implemented to advance partnership work and
  the outcomes REL partners and other key stakeholders intend to achieve in their locality, state, or
  region. Except where otherwise specified, dissemination activities specifically designed for
  national audiences are a secondary consideration of individual RELs.

  These activities are discussed in more detail in the Scope of Work/Requirements section under
  Task 6.




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  III.   Expectations for the Implementation of the REL Program

  As stated in the Introduction to the 2022 REL Cycle, the purpose of each REL is to support
  stakeholders in the use of research and evidence to improve outcomes for learners in its region
  from early childhood to adulthood. Current and previous REL cycles have demonstrated that
  there are many ways RELs can achieve this goal.

  In general, the needs, desired outcomes, and context of their partners should inform the
  development and execution of REL projects. As noted above, IES believes this way of working
  maximizes the chances that RELs meet partner needs and help partners realize their desired
  outcomes. IES has identified a set of overarching expectations for how the work of the REL will
  be implemented, identified below.

  RELs shall conduct all (1) applied research and development and (2) TCTS work in
  partnership using the most effective structure possible. The structure and features of work
  done in partnership should be defined by the nature of the work RELs and their partners intend to
  complete and the outcomes they seek to accomplish. IES expects that RELs will engage all
  stakeholders whose participation in the partnership is needed to realize the partnerships
  outcomes. This includes but is not limited to individuals, regional or local organizations, and
  professional associations with the authority to set, influence, or implement policy and practice;
  access data; provide content or context expertise; or generate awareness of, or buy-in to, specific
  evidence-based actions or outcomes identified by REL partners.

  Regardless of the form work done in partnership takes, IES expects good partnering behaviors in
  all relationships between RELs and their partners. REL projects shall be co-developed with the
  partners they are intended to serve. Additionally, REL work should be characterized by effective
  communication; genuine cooperation; and a mutual understanding of the context, content,
  outcomes and targets of the work.10

  Work done in partnership shall focus on concerns that are narrowly tailored to increase
  the likelihood of achieving partners desired outcomes. REL projects should emphasize deep
  work on a specific problem, rather than diffuse work across a broad topical area. For example, a
  REL project or set of projects should not focus broadly on early childhood education but rather
  on a particular issue such as improving the skills and knowledge of early childhood educators
  related to 1) formatively assessing childrens language and mathematics development, and 2)
  applying that knowledge to practice.


  10
    Outcomes are defined by the domains within which partners wish to see change  for example,
  improved math proficiency rates for middle school students in New Jersey. Targets are specific,
  measurable, time-bound metrics associated with long-term outcomes  for example, 85 percent of middle
  school students achieving proficiency on the statewide mathematics assessment by 2027.

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  RELs shall work in partnership with groups within a single state or jurisdiction. The work
  of REL partnerships should generally focus on statewide or local needs to increase the likelihood
  of achieving partners desired outcomes. IES expects that RELs will work to serve all states in
  their region; however, differences in policy contexts and partner needs often make it difficult for
  multi-state partnerships to set specific shared targets and successfully execute high leverage
  work. Partners within a state may include statewide organizations (for example, SEAs, state
  boards of education, IHEs/teacher preparation programs, or professional organizations), regional
  organizations (for example, Intermediary Units that support groups of schools or districts within
  a state), districts, or individual schools. Work may be done in partnership with representatives
  from any combination of these levels if doing so is necessary to achieve their outcomes. RELs
  may also leverage Communities of Practice to connect stakeholders across states within a REL
  region that have similar needs (see Subtask 3.3 in the Scope of Work/Requirements section).

  REL activities shall have a demonstrable, credible relationship to improved learner
  outcomes. The REL Programs purpose is to improve learner outcomes by supporting partners in
  the generation and use of research, evidence, and evidence-based practices. Therefore, the work
  of the RELs shall be actionable. That is, oriented towards solving, rather than simply describing,
  high-leverage problems of practice. Specifically:

         Activities should be in service of outcomes that are (a) co-designed with partners, (b)
         address authentic needs based on needs-sensing activities, (c) clear and measurable, and
         (d) have achievable, specific targets associated with these outcomes.
         Outcomes should be classified as short-term, medium-term, or long-term. Details as to
         the types of outcomes that are appropriate for each are described below in the Key
         Outcomes for REL Work and Logic Model section.
         Partners long-term goals should serve as a north star for the work of RELs. REL work
         should be in service of their partners goals (e.g., doubling the rate of math proficiency
         among 3rd graders in <partners LEA> over the next ten years). Targets for RELs work
         and outcomes vis-à-vis the partners goal should be appropriate to the opportunities and
         constraints of the REL Program.
         All REL outcomes and their associated targets should be attainable within the REL
         cycles current period of performance. When partners have goals that extend beyond the
         period of performance (e.g., by 2030, 95% of 3rd grade students in <partners LEA> will
         have achieved proficiency in math on the state test), REL outcomes and targets should
         be appropriately tuned to the Programs opportunities and constraints (e.g., At the end of
         the REL cycle, the REL and its partners hope to show a demonstrable increase in student

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         growth relative to the students baseline on all relevant domains of the progress
         monitoring assessment for 3rd grade math in all elementary schools in which teachers
         participated in trainings during the 2023-24 school year).
         Related projects developed in partnership with stakeholders will typically have the same
         long-term outcomes. Sets of projects co-developed with the same group may be intended
         to lead to distinct short- and medium-term outcomes, so long as they build on one another
         to help partners achieve shared long-term outcomes.
         RELs should be able to demonstratevia logic models, theories of change, or
         equivalenthow activities they propose to undertake in partnership will be arrayed to
         meet their short-, medium-, and long-term outcomes. REL activities are a means to an
         end, not ends unto themselves.
         On-going monitoring of a RELs performance will be informed in part by its attainment
         of targets associated with short-term and medium-term outcomes; summative evaluation
         of a RELs performance will be informed in part by its attainment of targets associated
         with long-term REL outcomes.

  RELs shall focus on activities that leverage their distinctiveness in the federal technical
  assistance space and develop strategies for collaboration with other federal service
  providers to meet needs that lie outside RELs core competencies. RELs distinctive value in
  the federal technical assistance community comes from their ability (a) to conduct applied
  research and development work that is rigorous and high leverage, and (b) to integrate that work
  with training, coaching, technical support, and dissemination that is of similarly high quality.
  RELs must consider how partner or other stakeholder needs that do not leverage that
  distinctivenesssuch as implementation support absent a discernable applied research and
  development componentshould be referred to other technical assistance providers such as the
  Regional Comprehensive Centers. RELs shall coordinate and participate in joint needs sensing
  activities with other federal technical assistance providersin particular the Regional
  Comprehensive Center(s) that serve their regionto help inform such decisions on where
  regional needs are best addressed.

  RELs shall emphasize the scaling of What Works Clearinghouse (WWC) Practice Guide
  recommendations and should amplify and leverage scientifically valid research and
  evidence-based practices built or synthesized elsewhere within IES. Discovering what works
  in education and then ensuring that knowledge is used to improve learners education outcomes
  is central to the mission of IES and the REL Program. Similarly, evidence-based practice is a
  central tenet of the Elementary and Secondary Education Act and Every Student Succeeds Act.
  In the 2022 cycle, RELs support the use of evidence-based practices in two ways.

  9




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  First, each REL shall develop at least one toolkit that supports scaling of WWC Practice Guide
  recommendations.11 WWC Practice Guides have a unique role within the evidence-based
  practices space. Their recommendations represent the IESs current and best understanding of
  evidence-based practice in a given domain. Some Practice Guides present a set of
  recommendations in which all recommendations should be implemented to achieve the intended
  outcomes, while other Practice Guide recommendations may be implemented independently of
  the other recommendations.More information about this activity is described in the Scope of
  Work/Requirements section under Subtask 5.2.

  Second, each REL shall seek to amplify evidence and evidence-based products developed by
  other IES programs such as the National Center for Education Research, the National Center for
  Special Education Research, and the National Center for Education Evaluation and Regional
  Assistance when developing TCTS projects or dissemination materials.

  RELs shall develop and employ strategic dissemination plans based on the products
  developed, their intended outcomes, their target audience(s), and the networks through
  which evidence and evidence-based practice may be disseminated for said audience(s). A
  strategic dissemination plan should incorporate the context and intended outcomes of the projects
  as well as dissemination practices and networks that are most likely to be effective for reaching
  target audiences. In order to develop and execute these strategies, RELs, with input from their
  partners, must be able to identify key audiences positioned to support partners in achieving their
  intended outcomes, target dissemination products and activities towards these audiences in
  places and through networks and knowledge brokers so that these audience are likely to find
  them, and develop/disseminate products in formats that are accessible and actionable to these
  audiences.

  IES expects that dissemination plans will require coordination across tasks  in particular,
  between Task 3 (Working in Partnership with Stakeholders), Task 4 (Training, Coaching and
  Technical Support for Evidence Use), Task 5 (Applied Research and Peer Reviewed Research-
  based Development Projects ) and Task 6 (Dissemination). IES also expects that dissemination
  strategies will be individualized and tailored to each set of projects developed in partnership.
  Simply making products or activities available through the RELs website or Twitter account is
  not sufficient, nor does it reflect the level of planning or effort IES expects RELs to put forth as
  part of a strategic dissemination effort.

  RELs shall intentionally seek opportunities to work with partners to address issues related
  to educational equity. Researchers have established that racial and ethnic minorities, children
  from low-income backgrounds, and children who are not proficient in English, oftentimes do not
  have the same educational opportunities as their counterparts who are White, from higher income

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    Successful offerors will be expected to develop the toolkit they propose; however, the government
  retains the right to make changes to this Subtask after award.

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  backgrounds, and are proficient in English.12 These disparate opportunities and resulting
  experiences have contributed to significant racial, economic, and English language achievement
  gaps,13 which may have been exacerbated by the Coronavirus pandemic.14 Education
  practitioners, policymakers, and researchers fear millions of students may have fallen further
  behind after the U.S. transitioned from in-person education in March 2020 to a mostly virtual
  environment that resulted in inequitable access to learning opportunities for historically
  underserved students.15 Furthermore, the social justice movement of 2020 prompted IES to think
  more critically about who is included in conversations about the high leverage needs the REL
  Program addresses and how the Program may benefit from including more diverse stakeholder
  groups.

  What this means for the REL Program:

            IES encourages RELs to propose projects that have the explicit goal of addressing
            educational equity. These projects might illuminate the differential experiences,
            opportunities, and outcomes of learners from historically underserved communities and
            should identify and promote effective or promising solutions for addressing these
            inequities. RELs play an important role in contributing to the growing body of research
            on how experiences within the countrys education system differ by context and student
            group, thereby impacting outcomes, and identifying potential solutions.
            Whenever feasible, RELs shall seek opportunities to partner with students, parents,
            and community stakeholdersparticularly those from historically underserved
            communitiesto determine the focus of and inform REL work. RELs could partner
            with these stakeholder groups to design, execute, and interpret research studies and their
            findings,16 or to determine the focus of and participate in TCTS activities. RELs might
            also consider how to include these stakeholder groups in needs sensing activities or
            projects that include root cause analysis. Since REL staff may not have direct access to
            students, parents, or community members, LEAs, SEAs, and/or other partners may need
            to help facilitate this relationship. IES acknowledges that not all projects may yield
            themselves to including these stakeholder groups; however, it is important for the REL

  12
     U.S. Department of Education Office for Civil Rights. (2016). 20132014 civil rights data collection. A first look:
  Key data highlights on equity and opportunity gaps in our nations public schools. Washington, DC: U.S.
  Department of Education. https://www2.ed.gov/about/offices/list/ocr/docs/2013-14-first-look.pdf. (accessed
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  14
    Dorn, E., Hancock, B., Sarakatsannis, J., & Viruleg, E. (2020). COVID-19 and learning loss  disparities grow and
  students need help. McKinsey & Company. Retrieved on January 5, 2021 from
  https://www.mckinsey.com/industries/public-and-social-sector/our-insights/covid-19-and-learning-loss-disparities-
  grow-and-students-need-help.
  15
     Ibid.
  16
       See Subtask 5.6 in the Scope of Work and Requirements section for additional information

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         Program explore this new opportunity to understand how including these partners might
         help improve learner outcomes. IES plans to provide support to RELs to do this work
         successfully.
  RELs shall employ strategies that integrate applied research; training, coaching, technical
  support; and dissemination in order to maximize the possibilities of partners meeting their
  short-, medium-, and long-term outcomes. REL activities can be fit discretely into one of the
  three categories of REL work  (1) applied research; (2) training, coaching, and technical
  support; or (3) dissemination. However, IES expects that RELs will realize the greatest impact
  for partners and stakeholders when they integrate multiple types of work within partnerships and
  across their entire portfolio of work. Examples of integration might include, but are not limited
  to developing infographics or hosting a webinar based on the findings of an applied research
  project; developing a TCTS project to support partners collection of data for a future applied
  research project; developing a coaching project to help partners determine whats next based
  on the implications of an applied research project; or developing a training project for
  instructional leaders based upon a toolkit or intervention developed by the REL.

  The content and design of REL work shall be informed by, align with, build upon partners
  existing initiatives and their efforts to improve policies and practices. RELs should (a) make
  all necessary efforts to understand the existing policy and practice context of all their
  stakeholders; (b) reflect an awareness of those contexts when planning with partners about how
  new activities can move them closer to achieving their outcomes; and (c) build partner capacity
  to execute all phases of an evidence-informed process of change.

  At a minimum, REL work should be developed with an understanding of the state and local
  context in order to avoid duplication of effort or contradiction with existing initiatives or
  practices. Beyond that, REL project proposals should demonstrate how the work is part of a
  logical and feasible pathway to achieving partners intended outcomes, in conjunction with other
  activities or initiatives taking place in partnership with, or outside of the REL. For example, a
  project in which the REL is supporting a networked improvement community of school
  curriculum leaders within a district in their efforts to help teachers identify, understand, and
  implement evidence-based instructional practices in early reading will be most successful if it
  builds upon existing teacher supports that the district provides and is followed by sustained
  district investment. Projects that are unable to demonstrate this  in other words, one-off
  projects that are not supported by additional REL work or partner initiatives outside of their
  work with the REL  are less likely to effectively support stakeholder change efforts and meet
  the criteria of high leverage. RELs should also coordinate with other federal technical assistance
  providers when designing research and training, coaching, and technical support projects to
  avoid duplication and maximize the benefit of federally funded supports.

  Additionally, work in partnership should be designed to support partners in identifying and
  acting on the necessary next steps to achieve their outcomes. Part of this could include RELs

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  acting as a thought partner to plan for what partners will do once REL supports have concluded.
  Another aspect of helping partners take next steps may involve reaching out to other stakeholder
  organizations with whom partners may not typically work. Partners for REL projects may
  include many, but not all, of the decisionmakers whose buy-in is necessary for achieving
  intended outcomes. In these cases, the REL could work in partnership to build the knowledge
  and capacity of partners to be able to clearly and persuasively champion potential evidence-
  based changes to outside decisionmakers and other stakeholders. Therefore, the REL, through
  partnerships, will need to become knowledgeable not only of their partners and their partners
  contexts, but also of their partners relationships to other key decisionmakers and the
  organizational processes of each relevant group.

  REL activities shall be designed and executed in a culturally responsive manner. RELs shall
  make all necessary efforts to understand the cultural context of their partners at the state, region,
  district, or school level and use that knowledge to design and conduct high leverage work.
  Cultural context can have several meanings, but generally relates to how stakeholders interact
  within education and social systems and their beliefs, values, norms and behaviors. RELs should
  recognize that these beliefs, values, norms, and behaviors are likely to be different across the
  various stakeholder groups within a system. As RELs think about how to best meet their
  partners needs around a given topic, they should also seek to understand the answers to
  questions such as: What does each relevant stakeholder group believe is the problem? What
  current norms might support or inhibit the adoption of a new practice or policy? What role does
  tradition play and how can it be used to support change?

  REL personnel shall include researchers with significant and demonstrated scholarly
  expertise in content areas and methodologies relevant to the work the REL undertakes as
  well as practitioners who have significant experience teaching and leading professional
  development in those content areas. RELs shall develop a team that includes experts of several
  types, listed below:

             Content experts who possess a broad and deep perspective on what is known and what
             still is not settled in a research field. They enable the REL to frame important research
             questions and TCTS activities so that they both address immediate needs for evidence, as
             well as advance knowledge more broadly through applied research.
             Lead authors of REL reports who shall have demonstrated expertise in the content area
             being addressed by the report, shown through a substantial portfolio of peer-reviewed,
             published work in that area.17




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       See https://eric.ed.gov/?selection for IES definition of peer-reviewed.

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          Methodological experts who ensure high leverage research questions are answered using
          appropriate methods and support the intended outcomes of the project.
          Current or recent practitioners who provide project staff additional context on problems
          of practice educators are facing.
          Experts in adult learning or professional development who can lead and inform the
          design and conduct of TCTS activities.

  IES expects that the REL shall seek content expertise from a variety of sources, including
  universities or other firms, and shall adjust its mix of content expertise as new regional needs
  arise.

  REL products shall be clear, engaging, relevant, and actionable. Products should be written
  for an informed lay audience. Non-researchers with limited statistical backgrounds should be
  able to understand key takeaways and implications from all products, including applied research.
  RELs shall incorporate formative feedback from at least one representative of the target audience
  when developing products to maximize their relevance, usability and actionability. RELs are
  encouraged to use multiple formats and to develop supplemental products to support research
  findings to make these findings as clear, engaging, relevant, accessable and actionable as
  possible to multiple audiences.

  IES primary concern is that the REL products are actionable for partners toward achieving their
  outcomes (see earlier expectation related to strategic dissemination). However, REL products
  should also be nationally relevant whenever possible so that other states, districts, and schools
  can adapt and implement the research knowledge, tools and trainings created through the REL
  partnership. RELs shall provide sufficient contextual information as a part of each applied
  research product so that users may be able to compare the context in which the work was
  conducted to their own when considering its relevance.

  Applied research products shall incorporate quantitative methodologies best suited to
  answer partners questions and address their high leverage needs. Applied research under
  the REL Program may use any quantitative methods, ranging from descriptive statistics to causal
  models, that are appropriate to meet partner needs. As discussed above, IES expects REL
  products to be high-leverage and actionable, with a focus on achieving partners medium- and
  long-term outcomes. Therefore, while descriptive research is permitted, IES expects that
  descriptive research will not be conducted as a stand-alone project and will instead be combined
  with other REL supports that help partners and other stakeholders apply research evidence to
  policy or practice. For the purposes of research under the REL Program, qualitative research
  methods are typically best used in combination with quantitative methods rather than in isolation.
  For example, case study data can be used to provide examples of the types of implementation



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  approaches that may be listed in survey response categories within an implementation
  evaluation.

  IES encourages RELs to look for opportunities to conduct studies that build upon extant data by
  collecting data on implementation in real time in order to help stakeholders understand the
  variation in implementation, the challenges associated with implementation and educators
  strategies for overcoming these challenges. Such studies would need to be launched early in the
  contract cycle because they would likely require Office of Management and Budget (OMB)
  clearance after the study proposal was approved by IES before the study could begin, as well as
  additional time to recruit participants and collect data.18




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       The OMB clearance process takes a minimum of five months.

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  IV.     Key outcomes for REL work and logic model

  IES has identified several short-, medium-, and long-term outcomes anticipated from the work of
  RELs and the REL Program (see Figure 1). Given the wide variety of topics and activities of
  REL projects, it would be nearly impossible to capture every potential input, activity, output, and
  outcome of REL work. The logic model depicted in Figure 1 represents a high-level overview of
  the work of RELs and of the REL Program itself. IES does not include arrows linking specific
  inputs, activities, outputs, and outcomes in this model. However, IES expectation is that as each
  REL co-develops and executes their scope of work they will demonstrate through logic models
  how specific components of their models are linked for each set of projects developed in
  partnership (see Task 3 under Scope of Work and Requirements for additional information).

  As noted in the Expectations for Implementation of the REL Program section, RELs will be
  expected to work with their partners to co-develop and periodically update detailed logic models,
  theories of action or equivalent for each set of projects developed in partnership.19 Measurement
  plans that allow the REL to quantify their progress toward achieving specified targets associated
  with short-, medium-, and long-term outcomes are also required. While the specific short- or
  medium-term outcomes in REL logic models might not match those in Figure 1, all applied
  research, coaching, training, and technical support activities shall be designed to support partners
  in meeting at least one of the five types of long-term outcomes listed in Figure 1.

  Inputs
  Although each REL project will include distinct inputs, some inputs should be common across
  any REL project. These include the experience and expertise in research, policy, and practice
  that RELs and their partners bring to a project. Partners connections to other key stakeholders
  and their contextual knowledge is also a valuable input.

  Buy-in on the part of partners, and the availability of REL and partner resources is also
  necessary. For RELs and partners, this includes time commitments necessary to be responsive to
  communication and participate in meetings or activities. This also includes time and effort to
  take the necessary steps to further project outcomes; for example, facilitating access to data for
  an applied research study or making phone calls to set up meetings with additional key
  stakeholders whose buy-in is critical for a project to meet its medium- or long-term outcomes.
  This may also involve financial resources, such as RELs using travel funds to accommodate a
  face-to-face meeting with partners, or partners paying for substitute teachers so that teacher
  leaders may attend a REL coaching or training session.


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     This will also be required for single (stand-alone) projects lasting more than six months; while IES
  expects most if not all REL work to be done through multiple projects with a set of stakeholders, IES will
  make limited allowances for stand-alone projects if the REL demonstrates the high-leverage nature of the
  proposed work.

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  Activities and Outputs
  REL activities and outputs are described in greater detail in both the Expectations for the
  Implementation of the REL Program and Scope of Work and Requirements sections. While there
  are some broad categories of REL activities and outputs listed in the REL Program Logic Model,
  this is not meant to be an exhaustive list of all possible activities RELs may pursue. Similarly,
  RELs will have flexibility in proposing what types of outputs or products are developed within
  these broad categories outlined in the REL Program Logic Model so long as the content and
  structure of each activity and output is clearly, directly, and credibly linked to specific outcomes,
  particularly the medium- and long-term outcomes listed in Figure 1.

  Short-Term Outcomes
  Short-term outcomes of REL activities usually include building partners knowledge and/or
  capacity for understanding research and translating that research or evidence into practice.
  Capacity building may include improving partner and/or stakeholder capacity to access, analyze,
  and interpret data, critically examine the quality of research evidence, or effectively
  communicate research findings and their implications to other key stakeholders. Short-term
  outcomes are not limited to capacity building, but other short-term outcomes typically follow
  some type of increase in partner capacity. These can include, but are not limited to, partners
  identifying a specific practice that they wish to adopt or adapt or increased support for an
  evidence-informed action among key stakeholders not directly involved as partners for a project.

  Medium-Term Outcomes
  Medium-term outcomes usually include partners or other key stakeholders taking action to
  change policy or behaviors, such as the adoption and implementation of a policy or practice.
  (Sustaining a policy or practice proven to be effective can also be a medium-term outcome.)
  Sustained implementation of continuous improvement processes among partners is also
  considered a medium-term outcome that can lead to other medium-term outcomes such as the
  identification, adaption, and adoption of new practices and policies. In cases where projects are
  completed near the end of the REL cycle, medium-term outcomes may not be observable until
  the end of the contract cycle.

  Long-Term Outcomes
  As discussed under the Expectations for the Implementation of the REL Program section, REL
  outcomes and targets should be appropriately tuned to the Programs opportunities and
  constraints, while also being informed by partners goals, which should act as a north star to
  inform REL outcomes.

  Most REL partners long-term goals of interest are improvements in meaningful measures of
  learner achievement (e.g., end-of-grade proficiency tests, graduation, or entering the workforce).
  Those goals typically have distinct numeric targets partners hope to achieve. Other long-term
  goals may include sustained, systematic organizational change and improved educator
  effectiveness, precursors to the learner academic, behavioral, or workforce outcomes that are

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  typically of interest to state and local practitioners and policymakers. Often, partners cast these
  goals and their associated targets as being in the more distant future, years after the REL contract
  will end.

  While acknowledging that partners long-term goals of interest may not be achievable within the
  timeline of the REL cycle, RELs should identify targets for their projects long-term outcomes
  that are (1) consistent with the partners long-term goal but (2) attainable within the period of
  performance. Per the example mentioned under Highlighted Expectations for the Implementation
  of the REL Program, a partner might set a districtwide proficiency rate target of 95% by 2030 for
  grade 3 standardized test scores in mathematics, while the REL adopts a long-term outcome of a
  demonstrable increase in student growth by the end of the REL period of performance releative
  to the students baseline on all relevant domains of the mathematics progress monitoring
  assessment for 3rd grade in all elementary schools in which teachers participated in trainings
  during the 2023-24 school year. The REL would be expected to report both students baseline
  scores and the latest available student scores at the end of the contract period. The target
  associated with the long-term outcome should be specific and narrow, yet aligned to the partners
  long-term goal, with the presumption that a successful districtwide scaling effort would allow the
  district to achieve their long-term goal by 2030.

  Offerors are encouraged to identify high-leverage projects, or sets of projects, to be done in
  partnership as early as possible in the contract cycle so that there is sufficient time in the REL
  contract to support the partners in achieving the medium- and long-term outcomes. However,
  RELs may propose sets of related projects to be done in partnership that include individual
  projects which may not be completed until the last few months of the REL contract, meaning that
  there may not be time to examine the associated long-term outcomes of that project. Such
  projects are allowable on a limited basis so long as the REL demonstrates the high-leverage
  nature of the proposed work and clearly outlines actions their partners are likely to take on their
  own after the REL contract expires to support their long-term outcomes. RELs are still expected
  to identify their partners long-term outcomes and targets beyond the REL cycle even in such
  cases.




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                                  Figure 1. REL Program Logic Model
                                  Problem statement: States, districts, and schools across the Pre-K-20 spectrum have goals related to improving student outcomes.
                                  Many states, districts and schools are interested in, or sometimes required to, implement evidence-based policies and practices as a
                                  way of reaching those goals. RELs are in a position to leverage their research expertise and their partners contextual knowledge to
                                  build partner and/or stakeholder capacity to determine and implement evidence-informed actions that ultimately support the
                                  improvement of student outcomes. While this model is intentionally general as it relates to the outputs, short- and medium-term
                                  outcomes of REL work, all REL projects should have at least one of the five types of long-term outcomes in this logic model. That
                                  outcome should be specific and measurable.
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  V.        Scope of work and requirements


  Task 1: REL Management and Reporting

  Subtask 1.1 Participate in a kickoff call with ED and attend a REL kickoff
  meeting.
  Within one week after the effective date of the contract, the REL shall schedule a call with the
  IESs Contracting Officers Representative (COR), Contracting Officer (CO), and Contract
  Specialist (CS) to introduce the key personnel and discuss expectations of the in-person
  program-wide kickoff meeting to be held within five weeks of contract award. The REL shall
  bring three personnel, including the Director and Deputy Director, to meet in Washington, DC
  with the COR, CO, CS for the contract kick-off meeting. Within two weeks after the meeting, the
  REL shall submit a summary of the meeting discussions, including any outstanding issues raised
  and plans to address these issues.

  Subtask 1.2 Communicate regularly with IES.
  The REL  at a minimum, the Director and Deputy Director  shall participate in regularly
  scheduled (at least twice per month) meetings with the COR to discuss issues related to the REL
  contract, including any anticipated problems and proposed solutions to those problems, and
  update the COR on key milestones for REL projects. The REL shall send an agenda for the call
  at least two working days before each call so that both the REL and COR are aware of the main
  issues that will be addressed during the call. Within five working days following each meeting,
  the REL shall prepare a memo summarizing the key issues and concerns raised at the meeting
  and how each will be addressed.

  The Director or Deputy Director shall communicate with the COR on a regular basis, such as by
  phone or email, to discuss urgent points and follow-up as needed.

  Subtask 1.3 Attend biannual REL Program meetings.
  The REL  specifically, the Director and one other key personnel20  shall attend two, one- to
  two-day REL Program meetings. Meetings may be in person in Washington DC, or virtual. The
  first REL Program meeting will be in person. The purpose of these meetings is to discuss issues
  and accomplishments related to the REL and the REL Program and consider ways to improve the
  functioning or outcomes of the REL Program. IES will coordinate the logistics for this REL
  Program meeting.




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       The REL Director, Deputy Director, and task leads are considered key personnel for the REL contracts.

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  Subtask 1.4 Present REL portfolio annually to Department staff.
  The REL shall present current and proposed work to REL Program and other invited IES and
  Department of Education staff in Washington, DC annually beginning in Year 2 of the contract.
  The purpose of the presentation is to ensure that other Department staff are aware of REL work
  and can discuss how this work connects or could potentially connect with other Department
  work. The REL shall submit briefing materials to the COR at least three weeks before the
  meeting. At least three REL staff shall plan on attending the one-day meeting. Within one week
  of each portfolio presentation, the REL shall submit a summary memo of items discussed at the
  meeting.

  Subtask 1.5 Identify, establish, maintain, and convene the Governing Board.
  The REL shall effectively manage all tasks with guidance from a statutorily required Governing
  Board, as specified in Section 174(h) of ESRA. The REL shall appoint members to the REL
  Governing Board to meet the following requirements:

              The composition of the REL Governing Board shall represent the interests of all
              states and other appropriate constituencies in the region.
              The REL shall offer every chief state school officer in the region the opportunity to
              serve on the REL Governing Board, or to designate a personal representative to serve.
              The composition of the REL Governing Board shall include a diversity of expertise
              and experience, including education researchers, educators, and individuals
              representing the interests of learners in economically disadvantaged areas, both rural
              and urban, and other underserved learners; see Section 174(h) of ESRA for additional
              information on the composition of the Governing Board.
              The REL Governing Board shall be separate from the RELs corporate board and
              shall meet on a different day from any corporate board meeting.
              The REL Governing Board shall convene at least two times each year, with at least
              one in-person meeting.21 Additional meetings of the REL Governing Board may be
              conducted as needed. In-person meetings shall be at least one full day to allow ample
              time for the board to fulfill its duties. All in-person meetings shall be held at a
              location within the region.




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    In-person Governing Board meetings may be hybrid (in-person with an option to attend virtually) if
  necessary to improve attendance.

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             The REL shall ensure that members clearly understand the roles, responsibilities, and
             the procedures of the REL Governing Board. This includes ensuring that all REL
             Governing Board members are onboarded, and are kept informed of the work of the
             REL between meetings so that the REL Governing Board may maximize the time
             available during Board meetings to fulfill their responsibilities, including:
                         Identifying and sharing the needs of the education constituency they
                      represent with the REL.
                         Providing strategic guidance on REL work and how the REL shall carry
                      out its activities for maximum effectiveness and efficiency towards
                      addressing regional needs and fulfilling intended outcomes, reduce
                      unnecessary activities and/or activities redundant with other activities in the
                      region, increase collaboration and resource sharing, and other activities as
                      specified in Section 174(h) of ESRA. Governing Board members are
                      expected to provide timely input and guidance on the needs and projects that
                      impact the constituency they represent.
                         Leveraging their connections within the region to amplify products
                      developed by RELs and the WWC to relevant stakeholders or organizations.

  RELs shall provide Governing Board members the opportunity to provide meaningful input and
  guidance on projects that impact the constituency they represent, as those projects are being
  proposed and executed. Because the work of the REL will be proposed, approved, and executed
  on a rolling basis, biannual Governing Board meetings should not be the only opportunity
  Governing Board members have to provide such input and guidance. RELs are expected to
  communicate with their Governing Board members on a consistent basis to provide them the
  information they need to fulfill their duties in a timely manner.

  Within five weeks of the effective date of the contract, the REL shall submit to IES a report on
  the establishment of the REL Governing Board, board procedures, a list of members, and
  analysis of how the Governing Board meets the representational requirements.

  The first REL Governing Board meeting shall be held within the first ten weeks of the contract
  effective date. After the initial meeting, meeting agendas shall be created in consultation with the
  Governing Board members at least 6 weeks before the Governing Board meeting occurs. The
  meeting agenda shall reflect a commitment by the REL to engage the Governing Board members
  actively in the decision-making of the REL. The agenda and meeting materials shall be
  submitted for approval by IES at least three weeks before each meeting. The REL shall submit to

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